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 7   J.F.
 8                                UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10
11
     J.F., an individual,               )                 Case No. 4:23-cv-4434-YGR
12                                      )
                    Plaintiff,          )
13                                      )                 [PROPOSED] ORDER GRANTING
            vs.                         )                 PLAINTIFF’S APPLICATION TO
14                                      )                 MAINTAIN ANONYMITY
     UNITED STATES OF AMERICA           )
15   (FEDERAL BUREAU OF PRISONS); ROSS )
     KLINGER, an individual; and DOES 1 )
16   through 10, inclusive,             )
                                        )
17                  Defendants.         )
                                        )
18                                      )
                                        )
19                                      )
20
             Plaintiff has submitted an application to maintain her anonymity.
21
             This Court, having considered the briefs and other documents in support of the
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     application and being fully advised in this matter finds as follows:
23
             IT IS HEREBY ORDERED that Plaintiff’s Application to Maintain Her Anonymity is
24
     GRANTED.
25
             IT IS SO ORDERED.
26
            August 30, 2023
     Dated: __________________             ____________________________________
27
                                           United States District Court Magistrate Judge
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                                                      1
           [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION TO MAINTAIN ANONYMITY
